

Matter of Bohrer (2022 NY Slip Op 04346)





Matter of Bohrer


2022 NY Slip Op 04346


Decided on July 7, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 7, 2022

PM-123-22
[*1]In the Matter of Sanford Lewis Bohrer, an Attorney. (Attorney Registration No. 2223840.)

Calendar Date:July 5, 2022

Before:Garry, P.J., Egan Jr., Aarons, Reynolds Fitzgerald and Ceresia, JJ.

Sanford Lewis Bohrer, Pinecrest, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Sanford Lewis Bohrer was admitted to practice by this Court in 1988 and lists a business address in Miami, Florida with the Office of Court Administration. Bohrer now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Bohrer's application.
Upon reading Bohrer's affirmation dated April 13, 2022 and filed May 4, 2022,[FN1] and upon reading the June 29, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Bohrer is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Aarons, Reynolds Fitzgerald and Ceresia, JJ., concur.
ORDERED that Sanford Lewis Bohrer's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Sanford Lewis Bohrer's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Sanford Lewis Bohrer is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Bohrer is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Sanford Lewis Bohrer shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.



Footnotes

Footnote 1:	 We note that respondent erroneously submitted an affirmation in support of his application rather than a sworn affidavit, as was required (see  CPLR 2106 [a]; Rules of App Div, 3d Dept [22 NYCRR] § 806.22 [a]). We have nonetheless accepted this defective filing in an exercise of our discretion.






